Case 2:21-cr-00039-RCY-LRL Document 48 Filed 09/14/21 Page 1 of 11 PagelD# 420

IN THE UNITED STATES DISTRICT COURT

  

FOR THE EASTERN DISTRICT OF VIRGINI CLERK US-DISy
CEN Uae - PISTRICT COURT

Norfolk Division
UNITED STATES OF AMERICA
Criminal No. 2:21CR39

Vi

)
)
LORI ANN TALENS, )
)
Defendant. )

)

 

RESTITUTION ORDER

I Pursuant to 18 U.S.C § 3663A(a)(1), the defendant is ordered to pay restitution in the
amount of $31,864,089.94, jointly and severally with Pacifico Talens, 2:19CR39; and any
other defendant to the extent they are ordered to pay restitution for the same losses to the
victims listed in Attachment A to this Restitution Order.

Di The amount of restitution paid to any victim, collectively, shall not exceed the victim’s
loss from the offenses of conviction.

3. The victims’ names, addresses, and respective total loss amounts are listed in Attachment
A to this Restitution Order.

4. Interest:

VV is waived.

accrues as provided in 18 U.S.C § 3612(f).

a Notwithstanding any other provision of this Restitution Order or the sentence imposed,
including the directive to make periodic payments, restitution is due in full and payable
immediately from assets known and unknown and including assets identified in the
Presentence Report. The Government may enforce restitution at any time.

18. Ifincarcerated, the Court encourages the defendant to participate in the Bureau of
Prisons’ Inmate Financial Responsibility Program, to comply with the provisions of the
financial plan, and to meet the defendant’s financial obligation, pursuant to 28 C.F.R. §
545.10-11.

19. If restitution is not paid in full immediately, the defendant shall pay to the Clerk at least
$ per month or 25 percent of net income, whichever is greater, beginning 60
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days after release from any period of confinement, or 60 days after sentencing if no
confinement is imposed.

20. All payments shall be made to the Clerk of Court, United States District Court, 600
Granby Street, Norfolk, Virginia 23510-1811.

DL Within 30 days of (a) any change of name, residence, or mailing address; and/or (b) any
material change in economic circumstances that affects the ability to pay restitution, the
defendant shall notify the Clerk of Court and the United States Attorney’s Office,
Financial Litigation Unit, 8000 World Trade Center, Norfolk, Virginia 23510.

22. No delinquent or default penalties will be imposed except upon Order of the Court.

23. The Clerk of Court shall distribute the funds to the victims on a pro rata basis. The Clerk
may withhold distribution of any restitution amounts until the sum available for

restitution to each victim is at least $25.00
AW

Honorable Roderick ¢ SYouhg
United States District Judg

ENTERED this day of August 2021.
at Norfolk, Virginia

WE ASK FOR THIS: ND AGREED:

ndant
Lys

  
 

Raj Parekh
Acting United States Attorney

D217

 

 

 

J Che

Assiétant United States ws Lai H. Woodward, Jr.
United States Attorney’s Office 223 East City Hall Avenue

101 West Main Street, Suite 8000 317 30" Street

Norfolk, Virginia 23510 Virginia Beach, Virginia 23451
Telephone (757) 441-6331 Telephone — 757-671-6047
Email: Joseph.Kosky@usdoj.gov Email: lwoodward@srgslaw.com
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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21cr39

 

VICTIM TOTAL LOSS

 

3M
2501 Hudson Rd.
Maplewood, MN 55144

$416.00

 

Abbott Nutrition
2900 Easton Square Place
Columbus, OH 43219

$6,013.79

 

ACCO Brands USA, LLC
4751 Hempstead Station Dr.
Kettering, OH 45429

$414.00

 

Alcon Laboratories
6201 South Freeway
Fort Worth, TX 76134

$507,552.00

 

Almond Breeze
1802 C Street
Sacramento, CA 95811

$ 12,220.78

 

Alpo
1 Checkerboard Square 4T
St. Louis, MO 63164

$80.00

 

Barilla America
885 Sunset Ridge Rd.
Northbrook, IL 60062

$2,305.73

 

Bayer Healthcare, LLC
100 Bayer Blvd.
Whippany, NJ 07981

$184,023.00

 

Beiersdorf, Inc.
45 Danbury Road
Wilton, CT 06897

$160,513.03

 

Beyond Meat
119 Standard St.
El Segundo, CA 90245

$5.00

 

BIC USA, Inc.
1 BIC Way, Suite 1
Shelton, CT 06484

$70,185.00

 

Blue Diamond
1802 C Street
Sacramento, CA 95811

$150.00

 

Boardwalk Frozen Treats
10 Woburn St.
Lexington, MA 02420

$108.00

 

Bob Evans & Crystal Farms
8200 Walton Parkway
New Albany, OH 43054

$62.86

 

Boots Retail USA, Inc.
40 Wall St., 22nd Floor
New York, NY 10005

$325.00

 

 

Bubba Burger
4339 Roosevelt Blvd., Suite 400
Jacksonville, FL 32210

 

$502,907.98

 

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Restitution Judgment Attachment A_

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Bumble Bee

8 Min Chuan 2nd Road 28th Floor
Chien Chen District

Koahsiung, 806515 Taiwan

_ $320.00

 

Butterball, LLC
1 Butterball Lane
Garner, NC 27529

$385.00

 

Campbell Soup Company
1 Campbell Place
Camden, NJ 08103

$155,941.00

 

Challenge
6701 Donlon Way
Dublin, CA 94568

$2,070.00

 

Chattem, Inc.

55 Corporate Drive
Mailstop 55B-200
Bridgewater, NJ 08807

$5,855.00

 

Chicken of the Sea International
2150 East Grand Avenue
El Segundo, CA 90245

$52,217.21

 

Church & Dwight

Princeton South Corporate Park
500 Charles Ewing Boulevard
Ewing, NJ 08628

$1,586,953.75

 

Clorox Services Company
4900 Johnson Drive
Pleasanton, CA 94588

$1,027,949.76

 

Coca-Cola
3003 Oake Road
Walnut Creek, CA 94597

$544,940.41

 

Colgate-Palmolive Company
300 Park Ave.
New York, NY 10022

$344,144.33

 

Combe, Inc.
1101 Westchester Ave.
White Plains, NY 10604

$224.00

 

Conagra Foods Rdm, Inc,
222 West Merchandise Mart Plaza, Suite 1300
Chicago, IL 60654

$107,218.22

 

Crayola, LLC
2501 McGee Trafficway, #339
Kansas City, MO 64108

$452,040.22

 

Dannon
100 Hillside Avenue
White Plains, NY 10603

$8,599.05

 

 

Deans
2711 N Haskell Ave.
Dallas, TX 75204

 

$7,465.42

 

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Restitution Judgment Attachment A
U.S. vy. Lori Ann Talens, 2:21¢r39

 

Del Monte Foods, Inc.
3003 Oak Road
Wainut Creek, CA 94597

$5,115.15

 

Diageo America
801 Main Avenue
Norwalk, CT 06851

$5,194.80

 

Dole
One Dole Drive
Westlake Village, CA 91362

$267.00

 

Domino Foods, Inc.
121 Woodview Dr.
Orwigsburg, PA 17961

$69,595.22

 

Dr. Pepper Snapple Group
6425 Hall of Fame Lane
Frisco, TX 75034

$149,403.78

 

Duracell
14 Research Drive
Bethel, CT 06801

$94.50

 

Duraflame
2879 Saint Rose Parkway Suite 20
Henderson, NV 89052

$7,875.75

 

Edgewell
6 Research Drive
Shelton, CT 06484

$123,986.56

 

Eggland’s Best LLC
70 East Swedesford Road, Suite 150
Malvern, PA 19355

$191,687.79

 

Elmer’s
6655 Peachtree Dunwoody Road NE
Atlanta, GA 30328

$202.00

 

Energizer
3001 Deming Way
Middleton, WI 53562

$43,284.72

 

Envirocon Technologies, Inc.
3601 S. Congress Ave., Suite G-600
Austin, TX 78704-7250

$137.00

 

Essentia Waters
1 Checkerboard Square
St. Louis, MO 63102

$1,195.00

 

Ferrero USA
7 Sylvan Way, 4th Floor
Parsippany, NJ 07054

$170,748.87

 

Fiji
11444 W Olympic Blvd, 2nd Floor
Los Angeles, CA 90064

$24,315.12

 

 

Fresh Mark, Inc.
1888 Southway St. SW
Massillon, OH 44646

 

$40.00

 

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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21¢r39

 

Frito-Lay
555 West Monroe Street, Ste. 11-2
Chicago, IL 60661

$786,346.97

 

General Mills, Inc.
1 General Mills Boulevard
Golden Valley, MN 55426

$158,908.15

 

Georgia-Pacific Consumer Products, LP
133 Peachtree Street NE
Atlanta, GA 30303

$337,421.71

 

GlaxoSmithKline Consumer Healthcare
184 Liberty Corner Road
Warren, NJ 07059

$9,597.00

 

Harvest Hill Beverage Company
1 High Ridge Park
Stamford, CT 06905

$1,542.00

 

Hasbro
1027 Newport Avenue
Pawtucket, RI 02862

$39,149.79

 

Heineken
360 Hamilton Avenue, Suite 1103
White Plains, NY 10601

$210.00

 

Henkel Corporation
200 Elm Street
Stamford, CT 06902

$1,754,062.57

 

Hershey’s
19 East Chocolate Avenue
Hershey, PA 17033

$323,261.34

 

Hormel Foods Corporation
1 Hormel Place
Austin, MN 55912

$295,323.17

 

Hostess Brands
7905 Quivira Rd.
Lenexa, KS 66215-2732

$3,985.00

 

Huhtamaki
9201 Packaging Dr.
De Soto, KS 66018

$541.00

 

Irving Consumer Products, Inc.
25 Burlington Mall Rd.
Burlington, MA 01803

$225.00

 

J & J Snack Food Corp.
6000 Central Highway
Pennsauken, NJ 08109

$84, 166.67

 

Johnson and Johnson Consumer, Inc.
199 Grandview Road
Skillman, NJ 08558

$573,078.67

 

 

Johnsonville
P.O. Box 906
Sheboygan Falls, WI 53085

 

$70,511.31

 

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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21er39

 

Just Born
1300 Stefko Boulevard
Bethlehem, PA 18017

$366.00

 

KAO USA Ine.
2535 Spring Grove Ave.
Cincinnati, OH 45214

$8,078.01

 

Kellogg Company
1 Kellogg Square
Battle Creek, MI 49016

$112,685.37

 

Keurig Dr. Pepper
6425 Hall of Fame Lane
Frisco, TX, 75034

$86,849.36

 

Kimberly-Clark Corporation
2100 Winchester Road
Neenah, WI 54956

$8,999,717.02

 

King’s Hawaiian
19161 Harborgate Way
Torrance, CA 90501

$36,681.73

 

L. Perrigo Company
490 Eastern Ave.
Allegan, MI 49010

$216.00

 

Land O’Lakes
4001 Lexington
Arden Hills, MN 55126

$35,609.20

 

Lindt
One Fine Chocolate Place
Stratham, NH 03885

$73,528.00

 

L’Oreal USA, Inc.
501 West 30th Street
New York, NY 10001

$12,340.08

 

Markwins International Corporation
New York, NY 10001
City of Industry, CA 91789

$4,460.00

 

McKee Foods Corp.
10260 McKee Road
P.O. Box 750
Collegedale, TN 37315

$183,150.00

 

Mondelez Global, LLC
100 Deforest Avenue
East Hanover, NJ 07036

$27,327.50

 

Monopoly
1027 Newport Avenue
Pawtucket, RI 02862

$274.91

 

Monster
1 Monster Way
Corona, CA 92879

$42,047.50

 

 

Nestle
1 Checkerboard Square 4T
St. Louis, MO 63164

 

$182,340.56

 

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Restitution Judgment Attachment A
U.S. v. Lori Ann Talens, 2:21¢r39

 

Newell Brands
6655 Peachtree Dunwoody Rd.
Atlanta, GA 30328

$80.00

 

Oberto Sausage Company
7060 Oberto Drive
Kent, WA 98032

$94,602.67

 

Ocean Spray Cranberries Inc.
1 Ocean Spray Drive
Lakeville-Middleboro, MA 02349

$1,236.00

 

On-Cor Frozen Foods
1225 Corporate Boulevard
Aurora, IL 60505

$112.00

 

Ornua Foods North America Inc.
1007 Church St, Suite 800
Evanston, IL 60201

$210.00

 

Paper Mate
6655 Peachtree Dunwoody Road NE
Atlanta, GA 30328

$144.00

 

Pepsi-Cola Company
555 West Monroe Street, Ste. 11-2
Chicago, IL 60661

$238,492.87

 

Perdue Foods, LLC
31149 Old Ocean City Road
Salisbury, MD 21804

$227,641.80

 

PetIQ, LLC
10077 S. 134th St.
Omaha, NE 68138

$90,774.00

 

Philip Morris
6601 West Broad Street
Richmond, VA 23230

$4,815.00

 

Pilot
3855 Regent Boulevard
Jacksonville, FL 32224

$20.00

 

Post Consumer Brands, LLC
20802 Kensington Boulevard
Lakeville, MN 55044

$2,135.98

 

Powerade
3003 Oake Road
Walnut Creek, CA 94597

$182.00

 

Prairie Farms Dairy, Inc.
3744 Staunton Rd.
Edwardsville, IL 62025

$47,237.73

 

Prestige Consumer Healthcare Inc,
660 White Plains Rd., #250
Tarrytown, NY 10533

$3,679.95

 

 

Procter & Gamble
1 P&G Plaza TN4-371
Cincinnati, OH 45202

 

$2,862,5 14.22

 

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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21¢r39

 

Purina
1 Checkerboard Square 4T
St. Louis, MO 63164

$1,130.96

 

Quaker
555 West Monroe Street, Ste. 11-2
Chicago, IL 60661

$257,759.66

 

Ragu
1661 Feehanville Drive, Suite 200
Mount Prospect, IL 60056

$1,057.00

 

Reckitt Benkiser

2400 West Lloyd Expressway
Mail Stop B-630

Evansville, IN 47721

$139,541.94

 

Reynolds
1900 West Field Court
Lake Forest, IL 60045

$571,815.68

 

Riviana Foods, Inc.
2777 Allen Parkway, Suite 1500
Houston, TX 77019

$22,163.01

 

Rubbermaid
6655 Peachtree Dunwoody Road NE
Atlanta, GA 30328

$780.00

 

Sabra
777 Westchester Ave., FL 3
White Plains, NY 10604-3520

$25,699.85

 

Saputo Cheese USA Inc.
One Overlook Point, Ste. 300
Lincolnshire, IL 60069

$83,616.00

 

Sara Lee Frozen Bakery, LLC
1 Tower Lane, Ste. 600
Oakbrook Terrace, IL 60181

$71.91

 

SC Johnson
550 W Washington Blvd, Suite 1400
Chicago, IL 60661

$79,452.50

 

Schwan’s
8500 Normandale Lake Boulevard
Bloomington, MN 55437

$5.00

 

Schwan’s Company
8500 Normandale Lake Boulevard
Bloomington, MN 55437

$71,420.44

 

Scrubbing Bubbles
$50 W Washington Blvd, Suite 1400
Chicago, IL 60661

$26,596.00

 

Seaboard Foods, LLC
9000 67th Street, Suite 200
Shawnee Mission, KS 66202

$525.00

 

 

Sharpie
6655 Peachtree Dunwoody Road NE
Atlanta, GA 30328

 

$116.00

 

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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21¢r39

 

Skintimate
533 Maryville University Dr.
St. Louis, MO 63141

$7.50

 

Smart Water
3003 Oake Road
Walnut Creek, CA 94597

$107,091.70

 

Smithfield
200 Commerce St.
Smithfield, VA 23430

$409,601.62

 

Solo
150 S. Saunders Rd.
Lake Forest, IL 60045

$23,845.82

 

Tata Global Beverages US
155 Chestnut Ridge Road
Montvale, NJ 07645

$28,024.62

 

The Blue Buffalo Company
1 General Mills Boulevard
Golden Valley, MN 55426

$120,555.56

 

The Freshpet Co. / Professor Connors
400 Plaza Drive, Suite 100
Secaucus, NJ 07094

$669.66

 

The Kraft Heinz Company
200 E. Randoiph Street
Chicago, IL 60601

$256,110.70

 

Turkey Hill
2601 River Road
Conestoga, PA 17516

$52.00

 

Tyson Shared Services, Inc.
400 South Jefferson Street
Chicago, IL 60607

$798,756.70

 

Unilever
700 Sylvan Avenue, C1
Englewood Cliffs, NJ 07632

$2,578,981 .76

 

v8
1 Campbell Place
Camden, NJ 08103

$32,707.43

 

Vitafusion

Princeton South Corporate Park
500 Charles Ewing Boulevard
Ewing, NJ 08628

$70.00

 

White Castle Food Products, LLC
555 W Goodale St.
Columbus, OH 43215

$277,832.00

 

Windex
550 W Washington Blvd, Suite 1400
Chicago, IL 60661

$76.00

 

 

Wonderful Pistachios
11444 West Olympic Blvd.
Los Angeles, CA 90064

 

$131,614.69

 

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Restitution Judgment Attachment A

U.S. v. Lori Ann Talens, 2:21¢er39

 

Ziploc $1,415,619.73
530 W Washington Blvd, Suite 1400
Chicago, IL 60661

 

 

Supplemental Nutrition Assistance Program (SNAP) $7,538.00
Virginia Beach Circuit Court Clerk

2425 Nimmo Parkway

Virginia Beach, VA 23456

Virginia Medical Assistance Program (Medicaid) $38,554.89

Attn: Randall L. Clouse
202 N. 9" Street
Richmond, VA 23219
TOTAL $3 1,864,089.94

 

 

 

 

 

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